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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jubsite                       Years        Defendant Products
                                               YUBA HEAT TRANSFER, LLC: Asbestos Containing Boilers,
                                                Heat Exchangers, Condensers, Pipe Covering, Block,
                                                Mastics, Packings, Gaskets, Spray, Cement, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               CARRIER CORPORATION, a Delaware Corporation:
                                               Asbestos Containing Cooling Towers, Asbestos
                                               Pipecovering, Asbestos Transite Board, Asbestos Block,
                                               Asbestos Cement, Asbestos Gaskets, Asbestos Boilers,
                                               Packings, Spray, Board, Blankets, HVAC Equipment and
                                               Other Asbestos Containing Materials
                                               BRYAN STEAM CORPORATION: Bryan Boilers, Furnaces,
                                               and Other Asbestos Containing Products and Equipment
                                               COMPUDYNE CORPORATION,Successor by Merger to
                                               YORK-SHIPLEY, INC.: Asbestos Containing York-Shipley
                                               Boilers, Tanks, Pressure Vessels, Firebrick, Refractory,
                                               I nsulation, Gaskets, Packing and Other Asbestos Containing
                                               Products and Equipment
                                               HOWDEN BUFFALO, INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Gaskets, Packing,
                                               Block, Blankets, Cement and Other Asbestos Containing
                                               Products and Equipment
                                               TWIN CITY CLARAGE, INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Air Handlers, HVAC
                                               Systems, Gaskets, Packing, Block, Blankets, Cement and
                                               Other Asbestos Containing Products and Equipment
                                               PNEUMO-ABEX,as Successor-in-Interest to ABEX
                                               CORPORATION: Asbestos Brake Linings, Clutches, Brake
                                               Blocks and Other Asbestos Containing Products and
                                               Equipment
                                               SPRINKMANN SONS CORPORATION OF WISCONSIN:
                                               Asbestos Containing Pipe Covering, Block, Spray, Blankets,
                                               Mastics, Cement and Other Asbestos Containing Products
                                               and Equipment
                                               McMASTER-CARR SUPPLY COMPANY: Asbestos Containing
                                               Pipe Covering, Block, Spray, Blankets, Mastics, Cements,
                                               Gaskets, Packings and Other Asbestos Containing Products
                                               and Materials
                                               AMERON INTERNATIONAL CORPORATION: Asbestos
                                               Containing Bondstrand Pipe, Gaskets, Pipe, Phenolic Resin,
                                               and other Asbestos Containing Materials
                                               AMERON INTERNATIONAL CORPORATION, Individually,
                                               and as Successor-in-Interest to BONDSTFtAND, LTD.:
                                               Asbestos Containing Bondstrand Pipe, Gaskets, Pipe,
                                               Phenolic Resin, and other Asbestos Containing Materials
                                               CHAMPLAIN CABLE CORPORATION, Individually and as
                                               Successor-in-Interest to AMERICAN SUPER TEMPERATURE


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   19-0074M
   WANDA M. HELMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

     obsite                       Years       Defenciant:Products
                                               WIRE, Successor-in-Interest to HAVEG INDUSTRIES, INC.
                                               and Successor-by-Merger to HAVEG CORPORATION:
                                               Chemtite Pipe, Haveg Pipe and Other Asbestos Containing
                                               Products and Equipment
                                               CHICAGO-WILCOX MANUFACTURING COMPANY: Asbestos
                                               containing gaskets, packings, seals, and other asbestos
                                               containing materials
                                               ELECTROLUX HOME PRODUCTS, INC., as Successor-in-
                                               Interest to BLAW-KNOX CONSTRUCTION EQUIPMENT
                                                MANUFACTURING CORPORATION: Asbestos Containing
                                               Brakes, Clutches, Gaskets, Cranes, Hoists, Earthmovers, and
                                               other Asbestos Containing Products and Equipment
                                               F.B. WRIGHT COMPANY,A MICHIGAN CORPORATION:
                                               Asbestos Containing Pipecovering, Block, Insulation,
                                               Cement, Refractory, Castables, Brick, Gaskets, Packings,
                                               and Other Asbestos Containing Materials
                                               FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to ALDRICH
                                               PUMP COMPANY: Asbestos Containing Pumps, Gaskets,
                                               Packing, Cement, Insulation, and other Asbestos Containing
                                               Materials                  •
                                              •GARDNER DENVER, INC., Individually, and as Successor-in-
                                               Interest to NASH ENGINEERING COMPANY: Asbestos
                                               Containing Pumps, Gaskets, Packing, Cement, Insulation,
                                               and other Asbestos Containing Materials
                                               INTERLINE BRANDS, INC., f/k/a WILMAR INDUSTRIES,
                                               INC.: Asbestos Gaskets, Packings and Other.Asbestos
                                               Containing Products and Equipment
                                               INTERLINE BRANDS, INC., Individually and as Successor-in-
                                               Interest to WILMAR INDUSTRIES, INC.: Asbestos Gaskets,
                                               Packings and Other Asbestos Containing Products and
                                               Equipment
                                               ITT INDUSTRIES, INC., Individually, and as Successor-in-
                                               Interest to McDonnell & Miller, Inc.: Asbestos Containing
                                               Pumps, Valves, Insulation, Gaskets, Packing, and other
                                               Asbestos Containing Materials
                                               J.A. SEXAUER, INC., A NEW YORK CORPORATION: Asbestos
                                               Containing Gaskets, Packings, Seals, and Other Asbestos
                                               Containing Materials
                                               RIC-WIL, INCORPORATED: Asbestos Containing Pre
                                               I nsulated Pipe and Conduit
                                               ROGER ZATKOFF COMPANY: Asbestos Containing Gaskets,
                                               Packings, Rope, Seals and other Asbestos Containing
                                               Materials
                                               SEALITE, INC.: Asbestos Containing White Oakum and other
                                               Asbestos Containing Materials


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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                            Years       Defendarwt: Pratlucts                          •
                                                   STANDARD FUEL ENGINEERING COMPANY: asbestos
                                                   containng zerobestos cement, cements, refractory,
                                                   castables, and other asbestos containing materials
                                                   U NION PUMPS COMPANY f/k/a David Brown Union Pump
                                                   Company: Asbestos Containing Pumps, Morris Pumps,
                                                   Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                                   Asbestos Containing Products and Equipment
                                                   WATTS REGULATOR COMPANY: Asbestos Containing
                                                   Pumps, Valves, Insulation, Gaskets, Packing, and other
                                                   Asbestos Containing Materials
                                                   WELTON RUBBER COMPANY,Individually, and as
                                                   Successor-In-Interest to WELTON RUBBER AND ASBESTOS
                                                   COMPANY: Asbestos Containing Gaskets, Packings,
                                                   Adhesives, Tapes, Molded Plastics, Hoses, and Other
                                                   Asbestos Containing Materials
                                                   WILMAR INDUSTRIES, INC., Individually and Successor-in-
                                                   Interest to SEXAUER, INC.: Asbestos Gaskets, Packings and
                                                   Other Asbestos Containing Products and Equipment

    Jobsite                            Yeats       Defenda
    Detroit Edison                     1964-1979   A.W. CHESTERTON COMPANY: Asbestos Containing
       • Beacon Street Power                       Packings, Seals, Gaskets and Other Asbestos Containing
            Plant (Detroit, MI)                    Products
       • Del Ray Power Plant                       CRANE CO.: Cranite, Crane-Deming Pumps, Cochrane
            (Detroit, MI)                          Asbestos Containing Feedwater Heaters, Deaerators, Heat
       • Mistersky Power Plant                     Exchangers, Degasifiers, Valves, Asbestos Packings,
            (Detroit, MI)                          Asbestos Cement, Asbestos Block, Asbestos Pipe Covering,
       • River Rouge Power                         Gaskets, Seals, Pumps, Boilers, Jenkins Valves, Pacific
            Plant (River Rouge, MI)                Boilers, Chapman Valves, and Other Asbestos Containing
       • St. Clair Power Plant                     Products and Equipment
           (St. Clair/East China                   H.B. FULLER COMPANY: Benjamin Foster Mastics,
            Township, MI)                          Compounds, Cement, Thin Set Cement and Other Asbestos
                                                   Containing Products
    Ford Transmission Plant            1964-1979   U NION CARBIDE CORPORATION: Asbestos Containing
    (Livonia, MI)                                  Bakelite, Paper, Felt, Roll, Raw Asbestos Fibers and Other
                                                   Asbestos Containing Products
    Ho!croft & Company (Livonia,       1964-1979   U NIROYAL, INC.: Asbestos Blankets, Cloth, Curtains, Paper,
    MI)                                            Felt and Other Asbestos Containing Products
                                                   CROWN,CORK AND SEAL, USA, INC.: Asbestos Cement,
    Linde Air (Detroit, MI)            1964-1979   Pipe Covering, Block and Other Asbestos Containing
                                                   Products
    Marathon Oil (Detroit, MI)         1964-1979   JOHN CRANE,INC.f/k/a CRANE PACKING COMPANY:
                                                   Asbestos Containing Packings, Seals, Gaskets and Other
     Monsanto Chemical Plant           1964-1979   Asbestos Containing Products
    (Detroit/Trenton, MI)                          DANA COMPANIES, LLC: Asbestos Containing Victor
                                                   Gaskets and Asbestos Containing Gaskets


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   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                          Years       Defendant: Products
    Pennsalt Chemical Plant          1964-1979     FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
    (Wyandotte, MI)                               Successor to the former Vellumoid division of FEDERAL-
                                                   MOGUL: Asbestos Containing Gaskets
    Stroh's Brewery (Detroit, MI)    1964-1979     FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                                  Successor to FELT-PRODUCTS MANUFACTURING CO.:
    Wyandotte Chemical (a/k/a        1964-1979    Asbestos Containing Gaskets and Seals
    BASF)(Wyandotte, MI)                          SEPCO CORP.: Asbestos Containing Gaskets, Packings and
                                                  Other Asbestos Containing Products and Equipment
                                                  PARKER-HANNIFIN CORPORATION: Asbestos Containing
                                                  Aircraft Brake Control System Units; Asbestos Containing
                                                  Brake Lines and Systems, Asbestos Containing Gaskets and
                                                  Packings and Other Asbestos Containing Products
                                                  CHICAGO GASKET COMPANY: Asbestos Containing Gaskets
                                                  GREENE,TWEED & CO.: Asbestos containing gaskets,
                                                  packings, seals, and other asbestos containing materials
                                                  FLOWSERVE US INC., as Successor-in-Interest to
                                                  DURAMETALLIC CORPORATION: Asbestos containing
                                                 gaskets, packings, seals, and other asbestos containing
                                                  materials
                                                 DAP, INC.: Asbestos Compounds and Other Asbestos
                                                 Containing Products
                                                  I NGERSOLL-RAND COMPANY: Asbestos Containing Pumps,
                                                 Turbines, Heat Exchangers, Compressors, Packings,
                                                 Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                                 Containing Products and Equipment
                                                 GOULDS PUMPS, INC.: Asbestos Containing Pumps, Morris
                                                 Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                                 and Other Asbestos Containing Products and Equipment
                                                 STERLING FLUID SYSTEMS(USA) LLC: Asbestos Containing
                                                 Pumps, Peerless Pumps, Asbestos Containing Packings,
                                                 Gaskets, Block, cement, Pipe Covering and Other Asbestos
                                                 Containing Products and Equipment
                                                 FMC CORPORATION: Asbestos Containing Pumps, Packings,
                                                 Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                                 Containing Products and Equipment
                                                 GARDNER DENVER,INC.: Asbestos Containing
                                                 Compressors, Heat Exchangers, Turbines, Vessels, Pumps,
                                                 Pipe Covering, Block, Cement, Packing, Spray, Blankets,
                                                 Gaskets and Other Asbestos Containing Products and
                                                 Equipment
                                                 JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY
                                                 TECHNOLOGIES, LLC: Asbestos Containing Compressors,
                                                 Heat Exchangers, Turbines, Vessels, Pumps, Portable Joy Air
                                                 Compressors, Pipe Covering, Block, Cement, Packing, Spray,
                                                 Blankets, Gaskets and Other Asbestos Containing Products
                                                 and Equipment


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         19-0074M
         WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

          4OtOteismmnnw---              Years        Defendatit: Products
                                                      IMO INDUSTRIES, INC.: Asbestos Containing Imo Pumps,
                                                      DeLaval Pumps, Packings, Gaskets, Block, Turbines,
                                                      Cement, Pipe Covering and Other Asbestos Containing
                                                      Products and Equipment
                                                      BW/IP, INC.: Asbestos Containing Pumps, Pipe Covering,
                                                      Byron Jackson Pumps, Block, Cement, Blankets, Gaskets,
                                                     Packings, Mastics and Other Asbestos Containing Products
                                                      and Equipment
                                                     AIR & LIQUID SYSTEMS CORPORATION, as Successor-by-
                                                      Merger to BUFFALO PUMPS,INC.: Asbestos Containing
                                                      Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                                     and Other Asbestos Containing Products and Equipment
                                                      ITT CORPORATION f/k/a BELL & GOSSETT.PUMP
                                                     COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                                     Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                                     Cement, Pipe Covering and Other Asbestos Containing
                                                     Products and Equipment
                                                     AURORA PUMP COMPANY: Asbestos Containing Pumps,
                                                     Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                                     Asbestos Containing Products and Equipment
                                                     FLOWSERVE US, INC., a.k.a. FLOWSERVE PUMP CORP.,
                                                     Individually, and as Successor-in-Interest to DURCO
                                                     PUMPS: Asbestos Containing Pumps, Pipe Covering, Block,
                                                     Cement, Blankets, Gaskets, Packings, Mastics and Other
                                                     Asbestos Containing Products and Equipment
                                                     ARMSTRONG PUMPS,INC.: Asbestos Containing Pumps,
                                                     Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                                     Mastics and Other Asbestos Containing Products and
                                                     Equipment
                                                     TACO,INC.: Asbestos Containing Pumps, Heat Exchangers,
                                                     Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                                    "Mastics and-Other-Asbestos Containing Products and
                                                     Equipment
                                                     FMC CORPORATION, Individually, and as Successor-in-
                                                     Interest to CHICAGO PUMP COMPANY: Asbestos
                                                     Containing Pumps, Packings, Gaskets, Block, Cement, Pipe
                                                     Covering and Other Asbestos Containing Products and
                                                     Equipment
                                                     ITT CORPORATION, Individually, and as Successor-in-
                                                     Interest to HOFFMAN SPECIALTY MANUFACTURING
                                                     COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                                     Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                                     Cement, Pipe Covering and Other Asbestos Containing
                                                     Products and Equipment




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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                       Years        Defendant:Products
                                                WARREN PUMPS, LLC.: Asbestos Containing Pumps,
                                               Packings, Gaskets, Pipe Covering, Block, Cement and Other
                                                Asbestos Containing Products and Equipment
                                               ARMSTRONG INTERNATIONAL, INC.: Asbestos Containing
                                               Steam Traps, Pumps, Heat Exchangers, Vessels, Valves,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               SPIRAX SARCO, INC.: Asbestos Containing Pumps, Heat
                                               Exchangers, Vessels, Valves, Steam Traps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GENERAL ELECTRIC COMPANY: Asbestos Containing
                                               Pumps,Turbines, Heat Exchangers, Vessels, Valves, Steam
                                               Traps, Packings, Gaskets, Block, Cement, Pipe Covering and
                                               Other Asbestos Containing Products and Equipment
                                               CBS CORPORATION, a Delaware Corporation,f/k/a
                                               VIACOM INC., Successor by Merger to CBS CORPORATION,
                                               a Pennsylvania Corporation,f/k/a WESTINGHOUSE
                                               ELECTRIC CORPORATION: Asbestos Containing Pumps,
                                               Turbines, Heat Exchangers, Vessels, Valves, Steam Traps,
                                               Packings, Gaskets, Block, Cement, Micarta Board, Pipe
                                               Covering and Other Asbestos Containing Products and
                                               Equipment
                                               FLOWSERVE US, INC. a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to THE EDWARD
                                               VALVE AND MANUFACTURING COMPANY, and as
                                               Successor-In-Interest to ROCKWELL MANUFACTURING
                                               COMPANY: Asbestos Containing Valves, Pumps, Pipe
                                               Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               GRINNELL, LLC: Asbestos Containing Valves, Packings,
                                               Cement, Block, Pipe Covering, Gaskets, Seals, and Other
                                               Asbestos Containing Products and Equipment
                                               DEZURIK, INC.: Asbestos Containing Valves, Gaskets,
                                               Packing, Asbestos Cement, Pipe Covering, Block and Other
                                               Asbestos Containing Products and Equipment
                                               MARSHALL ENGINEERED PRODUCTS COMPANY, LLC.:
                                               Asbestos Pumps, Packings, Gaskets, Block, Cement, Pipe
                                               Covering, Compressors, Condensers and Other Asbestos
                                               Containing Products and Equipment
                                               SPENCE ENGINEERING COMPANY,INC.: Asbestos
                                               Containing Valves, Strainers, Traps Condensate Systems,
                                               Pipe Covering, Block, and Other Asbestos Containing
                                               Products and Equipment



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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                       Years        Defendant Products
                                                COPES-VULCAN, INC.: Asbestos Containing Valves, Gaskets,
                                                Packing, Insulation, Block, Cement, and Other Asbestos
                                                Containing Materials
                                                FOSTER WHEELER ENERGY CORPORATION: Asbestos
                                                Containing Boilers, Condensers, Mills, Ejectors, Hoggers,
                                                Pumps, Heat Exchangers, Strainers, Economizers,
                                                Evaporators, Pipe Covering, Block, Cement, Gaskets,
                                                Packings, Spray, Board, Blankets and Other Asbestos
                                                Containing Products and Equipment
                                                RILEY POWER, INC.: Asbestos Containing Boilers, Union
                                                Iron Works Boilers, Heat Exchangers, Pipe Covering, Block,
                                                Cement, Gaskets, Packings, Spray, Board, Blankets and
                                                Other Asbestos Containing Products and Equipment
                                                CLEAVER-BROOKS, INC.: Asbestos Containing Boilers,
                                                Tanks, Deaerators, Pipe Covering, Block, Cement, Gaskets,
                                                Packings, Spray, Board, Blankets and Other Asbestos
                                                Containing Products and Equipment
                                                A.O. SMITH CORPORATION: Asbestos Containing Boilers,
                                                Hot Water Heaters, Heat Exchangers, Tanks, Pipe Covering,
                                                Vessels, Block, Cement, Gaskets, Packings, Spray, Board,
                                                Blankets and Other Asbestos Containing Products and
                                                Equipment
                                                TRANE U.S., INC.: Asbestos Containing Boilers, Kewanee
                                                Boilers, American Standard Boilers, Heat Exchangers,
                                                Steam Traps, Air Handlers, Chillers, HVAC Systems, Cooling
                                                Towers, Pumps, Tanks, Pipe Covering, Block, Cement,
                                                Gaskets, Packings, Spray, Board, Blankets and Other
                                                Asbestos Containing Products and Equipment
                                                ZURN INDUSTRIES, LLC f/k/a ZURN INDUSTRIES, INC.:
                                                Asbestos Containing Boilers, Erie Boilers, Keystone Boilers,
                                                Pumps, Steam Traps, HVAC Systems, Tanks, Asbestos Pipe
                                                Covering, Compressors, Block, Cement, Gaskets, Packings,
                                                Spray, Board, Blankets and Other Asbestos Containing
                                                Products and Equipment
                                                WEIL-MCLAIN: Asbestos Containing Boilers, Pipe Covering,
                                                Block, Cement, Gaskets, Packings, Spray, Board, Blankets
                                                and Other Asbestos Containing Products and Equipment
                                                BURNHAM,LLC f/k/a BURNHAM BOILER CO.: Asbestos
                                                Containing Boilers and Vessels, Pipe Covering, Block,
                                                Cement, Gaskets, Blankets, Packings, Spray and Other
                                                Asbestos Containing Products and Equipment
                                                YUBA HEAT TRANSFER, LLC: Asbestos Containing Boilers,
                                                Heat Exchangers, Condensers, Pipe Covering, Block,
                                              • Mastics, Packings, Gaskets, Spray, Cement, Blankets and
                                                Other Asbestos Containing Products and Equipment




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   19-0074M
   WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR., Deceased

    Jobsite                        Years        Defendant: Products
                                                 CARRIER CORPORATION,a Delaware Corporation:
                                                 Asbestos Containing Cooling Towers, Asbestos
                                                 Pipecovering, Asbestos Transite Board, Asbestos Block,
                                                 Asbestos Cement, Asbestos Gaskets, Asbestos Boilers,
                                                 Packings, Spray, Board, Blankets, HVAC Equipment and
                                                 Other Asbestos Containing Materials
                                                 BRYAN STEAM CORPORATION: Bryan Boilers, Furnaces,
                                                 and Other Asbestos Containing Products and Equipment
                                                 COMPUDYNE CORPORATION,Successor by Merger to
                                                 YORK-SHIPLEY, INC.: Asbestos Containing York-Shipley
                                                 Boilers, Tanks, Pressure Vessels, Firebrick, Refractory,
                                                 I nsulation, Gaskets, Packing and Other Asbestos Containing
                                                 Products and Equipment
                                                 HOWDEN BUFFALO, INC.: Asbestos Containing Induction
                                                 Draft Fans, Blowers, Forced Draft Fans, Gaskets, Packing,
                                                 Block, Blankets, Cement and Other Asbestos Containing
                                                 Products and Equipment
                                                 TWIN CITY CLARAGE, INC.: Asbestos Containing Induction
                                                 Draft Fans, Blowers, Forced Draft Fans, Air Handlers, HVAC
                                                 Systems, Gaskets, Packing, Block, Blankets, Cement and
                                                'Other Asbestos Containing Products and Equipment
                                                 BEAZER EAST, INC., formerly known as KOPPERS
                                                 COMPANY,INC.: Asbestos Containing Slag Lines, Fly Ash
                                                 Systems, Blowers, Breechings, Gaskets, Packings, Block,
                                                 Cement, Coke Ovens, Blast Furnaces, Refractory, Cement,
                                                 Brick, Blankets, Roofing Felts, Mastics and Other Asbestos
                                                 Containing Products and Equipment
                                                 RUST ENGINEERING AND CONSTRUCTION, INC.: Asbestos
                                                 Containing Pipecovering, Block Insulation, Furnaces,
                                                 Refractory Brick, Insulation, Castables, Cement, Gunning
                                                 Materials, and Other Asbestos Containing Materials
                                                 WTI-RUST HOLDINGS, INC.f/k/a RUST INTERNATIONAL
                                                 I NC., a DELAWARE CORPORATION, in their own right, and
                                                 as Successor- in-Interest to M.W. KELLOGG COMPANY and
                                                 the SWINDELL RUST DIVISION: Asbestos Containing
                                                 Pipecovering, Block Insulation, Furnaces, Refractory Brick,
                                                 I nsulation, Castables, Cement, Gunning Materials, and
                                                 Other Asbestos Containing Materials
                                                 SPRINKMANN SONS CORPORATION OF WISCONSIN:
                                                 Asbestos Containing Pipe Covering, Block, Spray, Blankets,
                                                 Mastics, Cement and Other Asbestos Containing Products
                                                 and Equipment
                                                 BMI REFRACTORY SERVICES, INC., Successor-in-Interest to
                                                 ADIENCE, INC.: Asbestos Pipe Covering, Block, Cement and
                                                 Other-Asbestos Containing Products and Equipment




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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    krbstte                        Years       Defendant: Products
                                               Asbestos containing Refractory Brick, Cements, Castables,
                                               and Other Asbestos Containing Materials
                                                McMASTER-CARR SUPPLY COMPANY: Asbestos Containing
                                               Pipe Covering, Block, Spray, Blankets, Mastics, Cements,
                                               Gaskets, Packings and Other Asbestos Containing Products
                                               and Materials
                                               AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                               Interest to HOLCROFT: Asbestos Containing Furnaces,
                                               Ovens, Block, Board, Brick, Cements, Cement Pipe, Gaskets,
                                                I nsulation, Pipecovering, Refractory, and Other Asbestos
                                               Containing Materials
                                               AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                               Interest to PACIFIC INDUSTRIAL FURNACE COMPANY
                                               (PIFC0): Asbestos Containing Furnaces, Ovens, Block,
                                                Board, Brick, Cements, Cement Pipe, Gaskets, Insulation,
                                               Pipecovering, Refractory, and Other Asbestos Containing
                                                Materials
                                               AMERON INTERNATIONAL CORPORATION: Asbestos
                                               Containing Bondstrand Pipe, Gaskets, Pipe, Phenolic Resin,
                                               and other Asbestos Containing Materials
                                               AMERON INTERNATIONAL CORPORATION, Individually,
                                               and as Successor-in-Interest to BONDSTRAND, LTD.:
                                               Asbestos Containing Bondstrand Pipe, Gaskets, Pipe,
                                               Phenolic Resin, and other Asbestos Containing Materials
                                               CHAMPLAIN CABLE CORPORATION, Individually and as
                                               Successor-in-Interest to AMERICAN SUPER TEMPERATURE
                                                WIRE, Successor-in-Interest to HAVEG INDUSTRIES, INC.
                                               and Successor-by-Merger to HAVEG CORPORATION:
                                               Chemtite Pipe, Haveg Pipe and Other Asbestos Containing
                                                Products and Equipment
                                               CHICAGO-WILCOX MANUFACTURING COMPANY: Asbestos
                                               containing gaskets, packings, seals, and other asbestos
                                               containing materials
                                                ELECTROLUX HOME PRODUCTS, INC., as Successor-in-
                                                Interest to BLAW-KNOX CONSTRUCTION EQUIPMENT
                                                MANUFACTURING CORPORATIONS AsbestoS Containing
                                                Brakes, Clutches, Gaskets, Cranes, Hoists, Earthmovers, and
                                                other Asbestos Containing Products and Equipment
                                                F.B.1NRIGHT COMPANY, A MICHIGAN CORPORATION:
                                                Asbestos Containing Pipecovering, Block, Insulation,
                                                Cement, Refractory, Castables, Brick, Gaskets, Packings,
                                                and Other Asbestos Containing Materials
                                                FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP.,
                                                Individually, and as Successor-in-Interest to ALDRICH
                                                PUMP COMPANY: Asbestos Containing Pumps, Gaskets,




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   19-0074M
   WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    jobsi-te                       Years        Defendant: Products
                                                Packing, Cement, Insulation, and other Asbestos Containing
                                                 Materials
                                                GARDNER DENVER, INC., Individually, and as Successor-in-
                                                Interest to NASH ENGINEERING COMPANY: Asbestos           •
                                                Containing Pumps, Gaskets, Packing, Cement, Insulation,
                                                and other Asbestos Containing Materials
                                                I NTERLINE BRANDS, INC., f/k/a WILMAR INDUSTRIES,
                                                INC.: Asbestos Gaskets, Packings and Other Asbestos
                                                Containing Products and Equipment
                                                I NTERLINE BRANDS, INC., Individually and as Successor-in-
                                                Interest to WILMAR INDUSTRIES, INC.: Asbestos Gaskets,
                                                Packings and Other Asbestos Containing Products and •
                                                Equipment
                                                ITT INDUSTRIES, INC., Individually, and as Successor-in-
                                               Interest to McDonnell & Miller, Inc.: Asbestos Containing
                                               Pumps, Valves, Insulation, Gaskets, Packing, and other
                                               Asbestos Containing Materials
                                               J.A. SEXAUER, INC., A NEW YORK CORPORATION: Asbestos
                                               Containing Gaskets, Packings, Seals, and Other Asbestos
                                               Containing Materials
                                               RIC-WIL, INCORPORATED: Asbestos Containing Pre
                                               I nsulated Pipe and Conduit
                                               ROGER ZATKOFF COMPANY: Asbestos Containing Gaskets,
                                               Packings, Rope, Seals and other Asbestos Containing
                                               Materials
                                               SEALITE, INC.: Asbestos Containing White Oakum and other
                                               Asbestos Containing Materials
                                               STANDARD FUEL ENGINEERING COMPANY: asbestos
                                               containng zerobestos cement, cements, refractory,
                                               castables, and other asbestos containing materials
                                               U NION PUMPS COMPANY f/k/a David Brown Union Pump
                                               Company: Asbestos Containing Pumps; Morris Pumps,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               WATTS REGULATOR COMPANY: Asbestos Containing
                                               Pumps, Valves, Insulation, Gaskets, Packing, and other
                                               Asbestos Containing Materials
                                               WELTON RUBBER COMPANY,Individually, and as
                                               Successor-In-Interest to WELTON RUBBER AND ASBESTOS
                                               COMPANY: Asbestos Containing Gaskets, Packings,
                                               Adhesives, Tapes, Molded Plastics, Hoses, and Other
                                               Asbestos Containing Materials
                                               WILMAR INDUSTRIES, INC., Individually and Successor-in-
                                               Interest to SEXAUER, INC.: Asbestos Gaskets, Packings and
                                               Other Asbestos Containing Products and Equipment




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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased


    Jobsite                             Years       Defendant Products
    Detroit Public Schools (Detroit,    1964-1979   A.W. CHESTERTON COMPANY: Asbestos Containing
    MI)                                             Packings, Seals, Gaskets and Other Asbestos Containing
                                                    Products
    Hutzel Hospital (Detroit, MI)       1964-1979   CRANE CO.: Cranite, Crane-Deming Pumps, Cochrane
                                                    Asbestos Containing Feedwater Heaters, Deaerators, Heat
    Royal Oak Public Schools (Royal     1964-1979   Exchangers, Degasifiers, Valves, Asbestos Packings,
    Oak, MI)                                        Asbestos Cement, Asbestos Block, Asbestos Pipe Covering,
                                                    Gaskets, Seals, Pumps, Boilers, Jenkins Valves, Pacific
                                                    Boilers, Chapman Valves, and Other Asbestos Containing
                                                    Products and Equipment
                                                    H.B. FULLER COMPANY: Benjamin Foster Mastics,
                                                    Compounds, Cement, Thin Set Cement and Other Asbestos
                                                    Containing Products
                                                    UNION CARBIDE CORPORATION: Asbestos Containing
                                                    Bakelite, Paper, Felt, Roll, Raw Asbestos Fibers and Other
                                                    Asbestos Containing Products
                                                    UNIROYAL, INC.: Asbestos Blankets, Cloth, Curtains, Paper,
                                                    Felt and Other Asbestos Containing Products
                                                    CROWN,CORK AND SEAL, USA,INC.: Asbestos Cement,
                                                    Pipe Covering, Block and Other Asbestos Containing
                                                    Products
                                                    JOHN CRANE,INC.f/k/a CRANE PACKING COMPANY:
                                                    Asbestos Containing Packings, Seals;Gaskets and Other
                                                    Asbestos Containing Products
                                                    DANA COMPANIES, LLC: Asbestos Containing Victor
                                                    Gaskets and Asbestos Containing Gaskets
                                                    FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                                    Successor to the former Vellumoid division of FEDERAL-
                                                    MOGUL: Asbestos Containing Gaskets
                                                    FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                                    Successor to FELT:PRODUCTS:MANUFACTURING-CO::
                                                    Asbestos Containing Gaskets and Seals
                                                    SEPCO CORP.: Asbestos Containing Gaskets, Packings and
                                                    Other Asbestos Containing Products and Equipment
                                                    PARKER-HANNIFIN CORPORATION: Asbestos Containing
                                                    Aircraft Brake Control System Units; Asbestos Containing
                                                    Brake Lines and Systems, Asbestos Containing Gaskets and
                                                    Packings and Other Asbestos Containing Products
                                                    CHICAGO GASKET COMPANY: Asbestos Containing Gaskets
                                                    GREENE,TWEED & CO.: Asbestos containing gaskets,
                                                    packings, seals, and other asbestos containing materials
                                                    FLOWSERVE US INC., as Successor-in-Interest to
                                                    DURAMETALLIC CORPORATION: Asbestos containing
                                                    gaskets, packings, seals, and other asbestos containing
                                                    materials


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                                                                                                DEBTORS_00009107
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       19-0074M
       WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

        Jobsite                       Years        Defendant: Products
                                                     DAP, INC.: Asbestos Compounds and Other Asbestos
                                                     Containing Products
                                                     INGERSOLL-RAND COMPANY: Asbestos Containing Pumps,
                                                    Turbines, Heat Exchangers, Compressors, Packings,
                                                     Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                                     Containing Products and Equipment
                                                     GOULDS PUMPS,INC.: Asbestos Containing Pumps, Morris
                                                     Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                                    and Other Asbestos Containing Products and Equipment
                                                    STERLING FLUID SYSTEMS(USA) LLC: Asbestos Containing
                                                    Pumps, Peerless Pumps, Asbestos Containing Packings,
                                                    Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                                    Containing Products and Equipment
                                                    FMC CORPORATION: Asbestos Containing Pumps, Packings,
                                                    Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                                    Containing Products and Equipment
                                                    GARDNER DENVER, INC.: Asbestos Containing
                                                    Compressors, Heat Exchangers, Turbines, Vessels, Pumps,
                                                    Pipe Covering, Block, Cement, Packing, Spray, Blankets,
                                                    Gaskets and Other Asbestos Containing Products and
                                                    Equipment
                                                    JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY
                                                    TECHNOLOGIES, LLC: Asbestos Containing Compressors,
                                                    Heat Exchangers, Turbines, Vessels, Pumps, Portable Joy Air
                                                    Compressors, Pipe Covering, Block, Cement, Packing, Spray,
                                                    Blankets, Gaskets and Other Asbestos Containing Products
                                                    and Equipment
                                                    IMO INDUSTRIES, INC.: Asbestos Containing Imo Pumps,
                                                    DeLaval Pumps, Packings, Gaskets, Block, Turbines,
                                                    Cement, Pipe Covering and Other Asbestos Containing
                                                    Products and Equipment
                                                   -BVIPTINC.:•Asbestos-Containing Pumps, Pipe Covering,
                                                    Byron Jackson Pumps, Block, Cement, Blankets, Gaskets,
                                                    Packings, Mastics and Other Asbestos Containing Products
                                                    and Equipment
                                                    AIR & LIQUID SYSTEMS CORPORATION, as Successor-by-
                                                    Merger to BUFFALO PUMPS,INC.: Asbestos Containing
                                                    Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                                    and Other Asbestos Containing Products and Equipment
                                                    ITT CORPORATION f/k/a BELL & GOSSETT PUMP
                                                    COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                                    Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                                    Cement, Pipe Covering and Other Asbestos Containing
                                                    Products and Equipment




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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

                                  Mears        Defendant Products
                                               AURORA PUMP COMPANY: Asbestos Containing Pumps,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               FLOWSERVE US, INC., a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to DURCO
                                               PUMPS: Asbestos Containing Pumps, Pipe Covering, Block,
                                               Cement, Blankets, Gaskets, Packings, Mastics and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONG PUMPS,INC.: Asbestos Containing Pumps,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               TACO,INC.: Asbestos Containing Pumps, Heat Exchangers,
                                               Pipe Covering, Block, Cement, Blankets, Gakets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               FMC CORPORATION,Individually, and as Successor-in-
                                               Interest to CHICAGO PUMP COMPANY: Asbestos
                                               Containing Pumps, Packings, Gaskets, Block, Cement, Pipe
                                               Covering and Other Asbestos Containing Products and
                                               Equipment
                                               ITT CORPORATION,Individually, and as Successor-in-
                                               Interest to HOFFMAN SPECIALTY MANUFACTURING
                                               COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                               Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               WARREN PUMPS, LLC.: Asbestos Containing Pumps,
                                               Packings, Gaskets, Pipe Covering, Block, Cement and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONG INTERNATIONAL, INC.: Asbestos Containing
                                               Stearn.Traps, Pumps, Heat Exchangers, Vessels, Valves,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               SPIRAX SARCO, INC.: Asbestos Containing Pumps, Heat
                                               Exchangers, Vessels, Valves, Steam Traps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment       -
                                               GENERAL ELECTRIC COMPANY: Asbestos Containing
                                               Pumps,Turbines, Heat Exchangers, Vessels, Valves, Steam
                                               Traps, Packings, Gaskets, Block, Cement, Pipe Covering and
                                               Other Asbestos Containing Products and Equipment
                                               CBS CORPORATION, a Delaware Corporation,f/k/a
                                               VIACOM INC., Successor by Merger to CBS CORPORATION,
                                               a Pennsylvania Corporation,f/k/a WESTINGHOUSE
                                               ELECTRIC CORPORATION: Asbestos Containing Pumps,


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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                       Years        Defendant: Products
                                               Turbines, Heat Exchangers, Vessels, Valves, Steam Traps,
                                               Packings, Gaskets, Block, Cement, Micarta Board, Pipe
                                               Covering and Other Asbestos Containing Products and
                                               Equipment
                                               FLOWSERVE US, INC. a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to THE EDWARD
                                               VALVE AND MANUFACTURING COMPANY, and as
                                               Successor-In-Interest to ROCKWELL MANUFACTURING
                                               COMPANY: Asbestos Containing Valves, Pumps, Pipe
                                               Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               GRINNELL, LLC: Asbestos Containing Valves, Packings,
                                               Cement, Block, Pipe Covering, Gaskets, Seals, and Other
                                               Asbestos Containing Products and Equipment
                                               DEZURIK, INC.: Asbestos Containing Valves, Gaskets,
                                               Packing, Asbestos Cement, Pipe Covering, Block and Other
                                               Asbestos Containing Products and Equipment
                                               MARSHALL ENGINEERED PRODUCTS COMPANY, LLC.:
                                               Asbestos Pumps, Packings, Gaskets, Block, Cement, Pipe
                                               Covering, Compressors, Condensers and Other Asbestos
                                               Containing Products and Equipment
                                               SPENCE ENGINEERING COMPANY,INC.: Asbestos
                                               Containing Valves, Strainers, Traps Condensate Systems,
                                               Pipe Covering, Block, and Other Asbestos Containing
                                               Products and Equipment
                                               COPES-VULCAN, INC.: Asbestos Containing Valves, Gaskets,
                                               Packing, Insulation, Block, Cement, and Other Asbestos
                                               Containing Materials
                                               FOSTER WHEELER ENERGY CORPORATION: Asbestos
                                               Containing Boilers, Condensers, Mills, Ejectors, Hoggers,
                                               Pumps, Heat Exchangers, Strainers, Economizers,
                                               Evaporators, Pipe Covering, Block, Cement, Gaskets,
                                               Packings, Spray, Board, Blankets and Other Asbestos
                                               Containing Products and Equipment
                                               RILEY POWER,INC.: Asbestos Containing Boilers, Union
                                               Iron Works Boilers, Heat Exchangers, Pipe Covering, Block,
                                               Cement, Gaskets, Packings, Spray, Board, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               CLEAVER-BROOKS, INC.: Asbestos Containing Boilers,
                                               Tanks, Deaerators, Pipe Covering, Block, Cement, Gaskets,
                                               Packings, Spray, Board, Blankets and Other Asbestos
                                               Containing Products and Equipment
                                               A.O. SMITH CORPORATION: Asbestos Containing Boilers,
                                               Hot Water Heaters, Heat Exchangers, Tanks, Pipe Covering,
                                               Vessels, Block, Cement, Gaskets, Packings, Spray, Board,


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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                        Years       Defendant:PrOtitiCts
                                               Blankets and Other Asbestos Containing Products and
                                               Equipment
                                               TRANE U.S., INC.: Asbestos Containing Boilers, Kewanee
                                               Boilers, American Standard Boilers, Heat Exchangers,
                                               Steam Traps, Air Handlers, Chillers, HVAC Systems, Cooling
                                               Towers, Pumps, Tanks, Pipe Covering, Block, Cement,
                                               Gaskets, Packings, Spray, Board, Blankets and Other
                                               Asbestos Containing Products and Equipment
                                               ZURN INDUSTRIES, LLC f/k/a ZURN INDUSTRIES, INC.:
                                               Asbestos Containing Boilers, Erie Boilers, Keystone Boilers,
                                               Pumps,Steam Traps, HVAC Systems, Tanks, Asbestos Pipe
                                               Covering, Compressors, Block, Cement, Gaskets, Packings,
                                               Spray, Board, Blankets and Other Asbestos Containing
                                               Products and Equipment
                                               WEIL-MCLAIN: Asbestos Containing Boilers, Pipe Covering,
                                               Block, Cement, Gaskets, Packings, Spray, Board, Blankets
                                               and Other Asbestos Containing Products and Equipment
                                               BURNHAM, LLC f/k/a BURNHAM BOILER CO.: Asbestos
                                               Containing Boilers and Vessels, Pipe Covering, Block,
                                               Cement, Gaskets, Blankets, Packings, Spray and Other
                                               Asbestos Containing Products and Equipment
                                               YUBA HEAT TRANSFER, LLC: Asbestos Containing Boilers,
                                               Heat Exchangers, Condensers, Pipe Covering, Block,        .
                                               Mastics, Packings, Gaskets, Spray, Cement, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               CARRIER CORPORATION, a Delaware Corporation:
                                               Asbestos Containing Cooling Towers, Asbestos
                                               Pipecovering, Asbestos Transite Board, Asbestos Block,
                                               Asbestos Cement, Asbestos Gaskets, Asbestos Boilers,
                                               Packings, Spray, Board, Blankets, HVAC Equipment and
                                               Other Asbestos Containing Materials
                                               BRYAN STEAM CORPORATION: Bryan Boilers, Furnaces,
                                               and Other Asbestos Containing Products and Equipment
                                               COMPUDYNE CORPORATION,Successor by Merger to
                                               YORK-SHIPLEY, INC.: Asbestos Containing York-Shipley
                                               Boilers, Tanks, Pressure Vessels, Firebrick, Refractory,
                                               Insulation, Gaskets, Packing and Other Asbestos Containing
                                               Products and Equipment
                                               HOWDEN BUFFALO, INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Gaskets, Packing,
                                               Block, Blankets, Cement and Other Asbestos Containing
                                               Products and Equipment
                                               TWIN CITY CLARAGE, INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Air Handlers, HVAC
                                               Systems, Gaskets, Packing, Block, Blankets, Cement and
                                               Other Asbestos Containing Products and Equipment


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    19-0074M
    WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR., Deceased

     JObsite                        Years        Defendant: Products
                                                  SPRINKMANN SONS CORPORATION OF WISCONSIN:
                                                  Asbestos Containing Pipe Covering, Block, Spray, Blankets,
                                                  Mastics, Cement and Other Asbestos Containing Products
                                                  and Equipment
                                                  McMASTER-CARR SUPPLY COMPANY: Asbestos Containing
                                                  Pipe Covering, Block, Spray, Blankets, Mastics, Cements,
                                                  Gaskets, Packings and Other Asbestos Containing Products
                                                 and Materials
                                                  AMERON INTERNATIONAL CORPORATION: Asbestos
                                                 Containing Bondstrand Pipe, Gaskets, Pipe, Phenolic Resin,
                                                 and other Asbestos Containing Materials
                                                 AMERON INTERNATIONAL CORPORATION, Individually,
                                                 and as Successor-in-Interest to BONDSTRAND, LTD.:
                                                 Asbestos Containing Bondstrand Pipe, Gaskets, Pipe,
                                                 Phenolic Resin, and other Asbestos Containing Materials
                                                 CHAMPLAIN CABLE CORPORATION, Individually and as
                                                 Successor-in-Interest to AMERICAN SUPER TEMPERATURE
                                                 WIRE, Successor-in-Interest to HAVEG INDUSTRIES, INC.
                                                 and Successor-by-Merger to HAVEG CORPORATION:
                                                 Chemtite Pipe, Haveg Pipe and Other Asbestos Containing
                                                 Products and Equipment
                                                 CHICAGO-WILCOX MANUFACTURING COMPANY: Asbestos
                                                 containing gaskets, packings, seals, and other asbestos
                                                containing materials
                                                 ELECTROLUX HOME PRODUCTS, INC., as Successor-in-
                                                Interest to BLAW-KNOX CONSTRUCTION EQUIPMENT
                                                 MANUFACTURING CORPORATION: Asbestos Containing
                                                 Brakes, Clutches, Gaskets, Cranes, Hoists, Earthmovers, and
                                                other Asbestos Containing Products and Equipment
                                                F.B. WRIGHT COMPANY, A MICHIGAN CORPORATION:
                                                Asbestos Containing Pipecovering, Block, Insulation,
                                                Cement, Refractory, Castables, Brick, Gaskets, Packings,
                                                and Other Asbestos Containing Materials
                                                FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP.,
                                                Individually, and as Successor-in-Interest to ALDRICH
                                                PUMP COMPANY: Asbestos Containing Pumps, Gaskets,
                                                Packing, Cement, Insulation, and other Asbestos Containing
                                                Materials
                                                GARDNER DENVER,INC., Individually, and as Successor-in-
                                                Interest to NASH ENGINEERING COMPANY: Asbestos
                                                Containing Pumps, Gaskets, Packing, Cement, Insulation,
                                                and other Asbestos Containing Materials
                                                I NTERLINE BRANDS,INC., f/k/a WILMAR INDUSTRIES,
                                                INC.: Asbestos Gaskets, Packings and Other Asbestos
                                                Containing Products and Equipment




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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                         Years          .
                                                .Defendarit Products
                                                INTERLINE BRANDS, INC., Individually and as Successor-in-
                                                Interest to WILMAR INDUSTRIES, INC.: Asbestos Gaskets,
                                                Packings and Other Asbestos Containing Products and
                                                Equipment
                                                ITT INDUSTRIES, INC., Individually, and as Successor-in-
                                                Interest to McDonnell & Miller, Inc.: Asbestos Containing
                                                Pumps, Valves, Insulation, Gaskets, Packing, and other
                                                Asbestos Containing Materials
                                                     SEXAUER, INC., A NEW YORK CORPORATION: Asbestos
                                                Containing Gaskets, Packings, Seals, and Other Asbestos
                                                Containing Materials
                                                RIC-WIL, INCORPORATED: Asbestos Containing Pre
                                                I nsulated Pipe and Conduit
                                                ROGER ZATKOFF COMPANY: Asbestos Containing Gaskets,
                                                Packings, Rope, Seals and other Asbestos Containing
                                                Materials
                                                SEALITE, INC.: Asbestos Containing White Oakum and other
                                                Asbestos Containing Materials
                                                STANDARD FUEL ENGINEERING COMPANY: asbestos
                                                containng zerobestos cement, cements, refractory,
                                                castables, and other asbestos containing materials
                                                UNION PUMPS COMPANY f/k/a David Brown Union Pump
                                                Company: Asbestos Containing Pumps, Morris Pumps,
                                                Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                                Asbestos Containing Products and Equipment
                                                WATTS REGULATOR COMPANY: Asbestos Containing
                                                Pumps, Valves, Insulation, Gaskets, Packing, and other
                                                Asbestos Containing Materials
                                                WELTON RUBBER COMPANY,Individually, and as
                                                Successor-In-Interest to WELTON RUBBER AND ASBESTOS
                                                COMPANY: Asbestos Containing Gaskets, Packings,
                                                Adhesives, Tapes, Molded Plastics, Hoses, and_Other
                                                Asbestos Containing Materials
                                                WILMAR INDUSTRIES, INC., Individually and Successor-in-
                                                Interest to SEXAUER,INC.: Asbestos Gaskets, Packings and
                                                Other Asbestos Containing Products and Equipment

    Jatbsite                        Years       Defendant: Prod cts
    Holcroft & Company (Livonia,    1975-1978   A.W. CHESTERTON COMPANY: Asbestos Containing
    MI)                                         Packings, Seals, Gaskets and Other Asbestos Containing
                                                Products
                                                CRANE CO.: Cranite, Crane-Deming Pumps, Cochrane
                                                Asbestos Containing Feedwater Heaters, Deaerators, Heat
                                                Exchangers, Degasifiers, Valves, Asbestos Packings,
                                                Asbestos Cement, Asbestos Block, Asbestos Pipe Covering,
                                                Gaskets, Seals, Pumps, Boilers, Jenkins Valves, Pacific


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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                       Years        Defer1dant:PriOdUtts
                                                Boilers, Chapman Valves, and Other Asbestos Containing
                                               Products and Equipment
                                               H.B. FULLER COMPANY: Benjamin Foster Mastics,
                                               Compounds, Cement, Thin Set Cement and Other Asbestos
                                               Containing Products
                                                UNION CARBIDE CORPORATION: Asbestos Containing
                                               Bakelite, Paper, Felt, Roll, Raw Asbestos Fibers and Other
                                               Asbestos Containing Products
                                               U NIROYAL, INC.: Asbestos Blankets, Cloth, Curtains, Paper,
                                               Felt and Other Asbestos Containing Products
                                               CROWN,CORK AND SEAL, USA, INC.: Asbestos Cement,
                                               Pipe Covering, Block and Other Asbestos Containing
                                               Products
                                               JOHN CRANE,INC.f/k/a CRANE PACKING COMPANY:
                                               Asbestos Containing Packings, Seals, Gaskets and Other
                                               Asbestos Containing Products
                                               DANA COMPANIES, LLC: Asbestos Containing Victor
                                               Gaskets and Asbestos Containing Gaskets
                                               FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                               Successor to the former Vellumoid division of FEDERAL-
                                               MOGUL: Asbestos Containing Gaskets
                                               FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                               Successor to FELT-PRODUCTS MANUFACTURING CO.:
                                               Asbestos Containing Gaskets and Seals
                                               SEPCO CORP.: Asbestos Containing Gaskets, Packings and
                                               Other Asbestos Containing Products and Equipment
                                               PARKER-HANNIFIN CORPORATION: Asbestos Containing
                                               Aircraft Brake Control System Units; Asbestos Containing
                                               Brake Lines and Systems, Asbestos Containing Gaskets and
                                               Packings and Other Asbestos Containing Products
                                               CHICAGO GASKET COMPANY: Asbestos Containing Gaskets
                                               GREENE,TINEED-847C0.:_Asbestoszcontaining,gaskets,
                                               packings, seals, and other asbestos containing materials
                                               FLOWSERVE US INC., as Successor-in-Interest to
                                               DURAMETALLIC CORPORATION: Asbestos containing
                                               gaskets, packings, seals, and other asbestos containing
                                               materials
                                               DAP, INC.: Asbestos Compounds and Other Asbestos
                                               Containing Products
                                               INGERSOLL-RAND COMPANY: Asbestos Containing Pumps,
                                               Turbines, Heat Exchangers, Compressors, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GOULDS PUMPS,INC.: Asbestos Containing Pumps, Morris
                                               Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                               and Other Asbestos Containing Products and Equipment


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   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

      bsite                       Years        DefenderIt:Products
                                               STERLING FLUID SYSTEMS(USA) LLC: Asbestos Containing
                                               Pumps, Peerless Pumps, Asbestos Containing Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               FMC CORPORATION: Asbestos Containing Pumps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GARDNER DENVER,INC.: Asbestos Containing
                                               Compressors, Heat Exchangers, Turbines, Vessels, Pumps,
                                               Pipe Covering, Block, Cement, Packing, Spray, Blankets,
                                               Gaskets and Other Asbestos Containing Products and
                                               Equipment
                                               JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY
                                               TECHNOLOGIES, LLC: Asbestos Containing Compressors,
                                               Heat Exchangers, Turbines, Vessels, Pumps, Portable Joy Air
                                               Compressors, Pipe Covering, Block, Cement, Packing, Spray,
                                               Blankets, Gaskets and Other Asbestos Containing Products
                                               and Equipment
                                               IMO INDUSTRIES, INC.: Asbestos Containing Imo Pumps,
                                               DeLaval Pumps, Packings, Gaskets, Block, Turbines,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               BW/IP, INC.: Asbestos Containing Pumps, Pipe Covering,
                                               Byron Jackson Pumps, Block, Cement, Blankets, Gaskets,
                                               Packings, Mastics and Other Asbestos Containing Products
                                               and Equipment
                                               AIR & LIQUID SYSTEMS CORPORATION, as Successor-by-
                                               Merger to BUFFALO PUMPS,INC.: Asbestos Containing
                                               Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                               and Other Asbestos Containing Products and Equipment
                                               ITT CORPORATION f/k/a BELL & GOSSETT PUMP
                                               COMP-ANY:-Asbestos Containing Valves, Heat Exchangers,
                                               Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               AURORA PUMP COMPANY: Asbestos Containing Pumps,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               FLOWSERVE US, INC., a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to DURCO
                                               PUMPS: Asbestos Containing Pumps, Pipe Covering, Block,
                                               Cement, Blankets, Gaskets, Packings, Mastics and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONG PUMPS,INC.: Asbestos Containing Pumps,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,



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   19-0074M
   WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR., Deceased

    Jobsite                        Years        Defendant: Products
                                                Mastics and Other Asbestos Containing Products and
                                                Equipment
                                                TACO, INC.: Asbestos Containing Pumps, Heat Exchangers,
                                                Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                                Mastics and Other Asbestos Containing Products and
                                                Equipment
                                                FMC CORPORATION, Individually, and as Successor-in-
                                                Interest to CHICAGO PUMP COMPANY: Asbestos
                                                Containing Pumps, Packings, Gaskets, Block, Cement, Pipe
                                                Covering and Other Asbestos Containing Products and
                                                Equipment
                                                ITT CORPORATION, Individually, and as Successor-in-
                                                Interest to HOFFMAN SPECIALTY MANUFACTURING
                                                COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                                Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                                Cement, Pipe Covering and Other Asbestos Containing
                                                Products and Equipment
                                                WARREN PUMPS, LLC.: Asbestos Containing Pumps,
                                                Packings, Gaskets, Pipe Covering, Block, Cement and Other
                                                Asbestos Containing Products and Equipment
                                                ARMSTRONG INTERNATIONAL, INC.: Asbestos Containing
                                                Steam Traps, Pumps, Heat Exchangers, Vessels, Valves,
                                                Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                                Asbestos Containing Products and Equipment
                                                SPIRAX SARCO,INC.: Asbestos Containing Pumps, Heat
                                                Exchangers, Vessels, Valves, Steam Traps, Packings,
                                                Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                                Containing Products and Equipment
                                                GENERAL ELECTRIC COMPANY: Asbestos Containing
                                                Pumps, Turbines, Heat Exchangers, Vessels, Valves, Steam
                                                Traps, Packings, Gaskets, Block, Cement, Pipe Covering and
                                                Other Asbestos Containing Products and Equipment
                                                CBS CORPORATION, a Delaware Corporation,f/k/a
                                                VIACOM INC., Successor by Merger to CBS CORPORATION,
                                                a Pennsylvania Corporation,f/k/a WESTINGHOUSE
                                                ELECTRIC CORPORATION: Asbestos Containing Pumps,
                                                Turbines, Heat Exchangers, Vessels, Valves, Steam Traps,
                                                Packings, Gaskets, Block, Cement, Micarta Board, Pipe
                                                Covering and Other Asbestos Containing Products and
                                                Equipment
                                                FLOWSERVE US, INC. a.k.a. FLOWSERVE PUMP CORP.,
                                                Individually, and as Successor-in-Interest to THE EDWARD
                                                VALVE AND MANUFACTURING COMPANY,and as
                                                Successor-In-Interest to ROCKWELL MANUFACTURING
                                                COMPANY: Asbestos Containing Valves, Pumps, Pipe
                                                Covering, Block, Cement, Blankets, Gaskets, Packings,


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       19-0074M
       WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

        lobsIte                       Years        Defendant Products
                                                    Mastics and Other Asbestos Containing Products and
                                                   Equipment
                                                   GRINNELL, LLC: Asbestos Containing Valves, Packings,
                                                   Cement, Block, Pipe Covering, Gaskets, Seals, and Other
                                                   Asbestos Containing Products and Equipment
                                                   DEZURIK, INC.: Asbestos Containing Valves, Gaskets,
                                                   Packing, Asbestos Cement, Pipe Covering, Block and Other
                                                   Asbestos Containing Products and Equipment
                                                   MARSHALL ENGINEERED PRODUCTS COMPANY, LLC.:
                                                   Asbestos Pumps, Packings, Gaskets, Block, Cement, Pipe
                                                   Covering, Compressors, Condensers and Other Asbestos
                                                   Containing Products and Equipment
                                                   SPENCE ENGINEERING COMPANY,INC.: Asbestos
                                                   Containing Valves, Strainers, Traps Condensate Systems,
                                                   Pipe Covering, Block, and Other Asbestos Containing
                                                   Products and Equipment
                                                   COPES-VULCAN, INC.: Asbestos Containing Valves, Gaskets,
                                                   Packing, Insulation, Block, Cement, and Other Asbestos
                                                   Containing Materials
                                                   FOSTER WHEELER ENERGY CORPORATION: Asbestos
                                                   Containing Boilers, Condensers, Mills, Ejectors, Hoggers,
                                                   Pumps, Heat Exchangers, Strainers, Economizers,
                                                   Evaporators, Pipe Covering, Block, Cement, Gaskets,
                                                   Packings, Spray, Board, Blankets and Other Asbestos
                                                   Containing Products and Equipment
                                                   RILEY POWER,INC.: Asbestos Containing Boilers, Union
                                                   Iron Works Boilers, Heat Exchangers, Pipe Covering, Block,
                                                   Cement, Gaskets, Packings, Spray, Board, Blankets and
                                                   Other Asbestos Containing Products and Equipment
                                                   CLEAVER-BROOKS, INC.: Asbestos Containing Boilers,
                                                   Tanks, Deaerators, Pipe Covering, Block, Cement, Gaskets,
                                                   Packings, Spray, Board, Blankets and Other Asbestos
                                                   Containing Products and Equipment
                                                   A.O. SMITH CORPORATION: Asbestos Containing Boilers,
                                                   Hot Water Heaters, Heat Exchangers, Tanks, Pipe Covering,
                                                   Vessels, Block, Cement, Gaskets, Packings, Spray, Board,
                                                   Blankets and Other Asbestos Containing Products and
                                                   Equipment
                                                   TRANE U.S., INC.: Asbestos Containing Boilers, Kewanee
                                                   Boilers, American Standard Boilers, Heat Exchangers,
                                                   Steam Traps, Air Handlers, Chillers, HVAC Systems, Cooling
                                                   Towers, Pumps, Tanks, Pipe Covering, Block, Cement,
                                                   Gaskets, Packings, Spray, Board, Blankets and Other
                                                   Asbestos Containing Products and Equipment
                                                   ZURN INDUSTRIES, LLC fikia ZURN INDUSTRIES, INC.:
                                                   Asbestos Containing Boilers, Erie Boilers, Keystone Boilers,


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   19-0074M
   WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased
    jobsite
                                   Years        Defendant: Products
                                                Pumps, Steam Traps, HVAC Systems, Tanks, Asbestos Pipe
                                                Covering, Compressors, Block, Cement, Gaskets, Packings,
                                                Spray, Board, Blankets and Other Asbestos Containing
                                                Products and Equipment
                                                WEIL-MCLAIN: Asbestos Containing Boilers, Pipe Covering,
                                                Block, Cement, Gaskets, Packings, Spray, Board, Blankets
                                                a nd Other Asbestos Containing Products and Equipment
                                                BURNHAM,LLC f/k/a BURNHAM BOILER CO.: Asbestos
                                               Containing Boilers and Vessels, Pipe Covering, Block,
                                               Cement, Gaskets, Blankets, Packings, Spray and Other
                                                Asbestos Containing Products and Equipment
                                               YUBA HEAT TRANSFER, LLC: Asbestos Containing Boilers,
                                                Heat Exchangers, Condensers, Pipe Covering, Block,
                                                Mastics, Packings, Gaskets, Spray, Cement, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               CARRIER CORPORATION, a Delaware Corporation:
                                               Asbestos Containing Cooling Towers, Asbestos
                                               Pipecovering, Asbestos Transite Board, Asbestos Block,
                                               Asbestos Cement, Asbestos Gaskets, Asbestos Boilers,
                                               Packings, Spray, Board, Blankets, HVAC Equipment and
                                               Other Asbestos Containing Materials
                                               BRYAN STEAM CORPORATION: Bryan Boilers, Furnaces,
                                               and Other Asbestos Containing Products and Equipment
                                               COMPUDYNE CORPORATION,Successor by Merger to
                                               YORK-SHIPLEY, INC.: Asbestos Containing York-Shipley
                                               Boilers, Tanks, Pressure Vessels, Firebrick, Refractory,
                                               I nsulation, Gaskets, Packing and Other Asbestos Containing
                                               Products and Equipment
                                               HOWDEN BUFFALO, INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Gaskets, Packing,
                                               Block, Blankets, Cement and Other Asbestos Containing
                                               Products and Equipment
                                               TWIN CITY CLARAGE,INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Air Handlers, HVAC
                                               Systems, Gaskets, Packing, Block, Blankets, Cement and
                                               Other Asbestos Containing Products and Equipment
                                               LINDBERG: Asbestos Containing Furnaces, Refractory,
                                               Cement, Brick, Block, Blankets and Other Asbestos
                                               Containing Products and Equipment
                                               SURFACE COMBUSTION, INC.: Asbestos Containing
                                               Furnaces, Refractory, Cement, Brick, Block, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               RUST ENGINEERING AND CONSTRUCTION, INC.: Asbestos
                                               Containing Pipecovering, Block Insulation, Furnaces,
                                               Refractory Brick, Insulation, Castables, Cement, Gunning
                                               Materials, and Other Asbestos Containing Materials


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